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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

IRA KLEIMAN, as the personal CASE NO.: 9:18-cv-80176-BB
representative of the Estate of David
Kleiman, and W&K Info Defense
Research, LLC

 

Plaintiffs,
v.
CRAIG WRIGHT
Defendant.

 

PLAINTIFFS’ OPPOSITION TO DEFENDANT’S
MOTION FOR PROTECTIVE ORDER
FILED UNDER SEAL

 

Although framed as a motion for a protective order, the only relief Craig requests is to keep
the answers he’s provided in response to certain questions posed at his initial deposition under
seal. While Plaintiffs do not oppose keeping the filing under seal,' the information Craig discloses
in his motion raises additional questions related to the claims at issue in this litigation that Plaintiffs
were wrongfully denied the opportunity to explore at Craig’s deposition. Accordingly, Plaintiffs

request that this Court grant an additional deposition to explore these topics.

 

! When Craig filed his sealed motion, Plaintiffs’ counsel shared it with Ira Kleiman together with
clear instructions that it be kept in the strictest of confidences and not be disclosed. Upon reading
Craig’s motion carefully, counsel understood that his motion requested an order that his answers
not be shared with anyone other than the Court and counsel of record. While Plaintiffs’ counsel
strenuously objects to having to keep these responses confidential from Ira, and while Craig did
not seek this relief in advance, Plaintiffs’ counsel requested that Ira delete all copies of the motion
and reiterated its confidential nature. Ira confirmed he has deleted all copies. Thus, Plaintiffs do
oppose the relief that Plaintiffs should not be entitled to review and keep a copy of these answers.
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ARGUMENT

As this Court is well-aware, Craig refused to answer certain questions at his deposition on
the basis of “alleged national security concerns.” (ECF No. [137] at 2.) However, when pressed
by the Court how Craig would have standing to assert an objection on behalf of the United States,
Craig abandoned the “national security” objection. He now claims that his basis for not answering
the questions posed was “simply [] not wanting to disclose that information for personal safety.”
(ECF No. [145-6] at 45:1-2.) Apparently recognizing the lack of any legal basis for responding to
the previously unanswered deposition questions, Craig’s motion provides minimal background
information responsive to those questions. Yet Craig’s responses raise many more questions that
are germane to the claims at issue in this litigation.

For example, Craig’s identification of P| as the third person he identified to
Dave’s father as responsible for Bitcoin’s creation (ECF No. [82-23]) — raises significant questions
pertaining to the facts leading up to the creation of the alleged partnership between Craig and Dave.
To start, it is unclear from Craig’s motion (1) whether or not he knows the identity of ii
(2) whether he is aware of any other identifying information; (3) the extent or nature of a

Be votvennent in the creation of bitcoin; (4) whether Craig still possesses any communications

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in the creation of Bitcoin. Exploring these types of facts was the purpose of pernutting the parties
to take preliminary depositions, as the first topic Plaintiffs requested, and this Court ordered, Craig
to be prepared to answer was:

The location and existence of documents along with the identification of witnesses,
including information about their whereabouts and role(s) in the subject matter of
the pleadings.

(ECF No. [114-5].)
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Further, Plaintiffs should not be required to accept Craig’s assertion (at 2) that the work
performed in conjunction with Dave and a : ‘irrelevant to the issues framed by
the pleadings.” First, as spelled out in Plaintiffs recently filed opposition to Craig’s motion for
judgment on the pleadings (ECF No. [159] at 1-2), Craig has repeatedly submitted false testimony
and documentation for this Court in order to prevent inquiry into the facts at issue in this litigation.

But even putting aside his penchant for lying to this Court (e.g. through false affidavits and

forged documents), Craig’s own motion completely undermines his assertion that these facts are

not relevant. Craig claims that intellectual property developed by Craig Wright R&D and W&K

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Further, Craig has also claimed he helped compromise i v | a

“engure[] that [he] kn[e]w nothing about the ownership of the companies [he was] with.” (Ex. 2,

Wright Dep. Tr. 92:13-14-94:05.) It was also, according to Craig, the firm that controlled the

hat listed

bitcoins to be held “in trust” for Dave and Craig. (Ex. 2 at 308:23-309:22). Why Craig and Dave

distribution of loans from

were allegedly compromising the firm that was trusted to control the BE itcoins held in

trust for their benefit is relevant to the pleadings. It raises the question of whether Craig and Dave
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The relevancy explained above is by no means exhaustive. Yet the issues raised by Craig’s

disclosure clearly demonstrate that Plaintiffs should be entitled to further deposition time to

explore the topics Craig refused to discuss on “national security” grounds. Accordingly, Plaintiffs

respectfully request that this Court order Craig to appear for 2-hour continuance of his initial

deposition.”

Dated: April 29, 2019

 

Respectfully submitted,

s/ Velvel (Devin) Freedman

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Counsel to Plaintiff Ira Kleiman as Personal
Representative of the Estate of David Kleiman
and W&K Info Defense Research, LLC.

2 In total, Plaintiffs have requested six-hours of additional deposition time arising from the
motions submitted in response to Craig’s refusal to answer certain questions at his deposition.

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CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on April 29, 2019, I electronically filed the foregoing document

with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

served this day on all counsel of record via email.

s/ Velvel (Devin) Freedman
VELVEL (DEVIN) FREEDMAN
